 

TNW Morrow, Nicholas

 

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1.cIRJDIsTJn1v.§56"bi "YPE§’§GNREPRESENTED "

VOUC}IER NZJ}MBER

 

 

3. MAG. DKT./DEF. NUMBE.R ii. DlST. DKT./DEF. NUMBER

2:03-020451-001

5. APPEALS DKT.!DEF. NUMBER

6. OTllER DKT. NUMBER

 

i. m cAsE/MATTER or
U.S. v. Morrow Felony

(Clse Name) B. PAYMENT CATECORY

 

 

9. T‘{PE PERSON REPRESENTED

l[}. REP RESENTATION TYPE

[See lnstrut:tions)

Adult Def`endant Criminal Case

 

 

II. OFFENSE(S) CH ARCED {C;ire U.S. Code, Title & Sect'.ion)

lfmore than one alfense. list [up to iivel major offenses clurged, according iu severlty ofott'ense.

l) 18 922G. F -- UNLAWFUL TRANSPORTFPOSSESS/RECE[VE FIREARMS THROUGH lNTERSTATE COMME»§CE“"

 

 

 

     

 

 

  
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

19. CE.RTIFICAT!ON OF ATTORNEY."PAYEE FOR THE PERIOD 0 F SERV'[CE
FROM TO

 

 

 

 

 

 

 

 

11. ATTORNEY'S NAME (Flrst Name, M.l., Llst Nas'ne. including any sumx] ll COURT ORDER __, l :<`(
AND MAIL[NG ADDRESS E 0 Appointing Connsel m C Co-Counsel fe '~‘f ,»=~
SChOl], Micha€l E m F S\ths For Federll Del'ender I] R Suhs For Retaine$\thth ` /
3 SOUth Thll`d St m P Sllhs For l’lnel Atrnrngy m y standby Cou“el -e_,/ /:’n;-` l _ /
4th Floor Prior Altnrney's Nome: \ .. " ‘_ g
. . _ ".= / r, .'
M€mphls TN 38103 Ai)p<»mlm¢n\ Bll€= `,;"1 )‘ ‘/,`
\:[ Because the abovbnnmetl person represented his testified under oath or has fp ' "-5"‘
otherwise satisfied this court thnt he or she ` - tally unable to employ culosel'a,n_;l\?-, ..;;:",
Teleplione Number: ests ufjustice so requlre, the “{;<\"_(JB`,‘S 4
- to represent this person in this clse/.;‘,, . "".-
ld. NAME AND MAlLING ADDR.'ESS OF LAW FIRM (on|y provide per instructions) ")=fj;_ \_/'3:/,
Z;j?'i{‘
v
Signature msidl'n’g .ludicia$OE;er or By Order nfihe Court
DSH l'}/?(](]‘i
Dafe ofOrder Nonc Pro Tunc Dnte
Repnyment or partial repayment ordered from the person represented for this service at
time ofappointment. m YES ll NO
-L‘- - - »w, wo_ o 4 -_ n
TOTAL MATHII`ECH MATHFI`ECH
- - - » - HOURS ADDITIONAL
CATEGORIES Attach ltemtzatsnn oi'servlces with dates AMOUNT ADJUSTED AD.I'USTED
( ) CLAIMED cLAsMEo uouks AMOUNT REVIEW
15. a. Arraignment andfor Plea
b. Bail and Detention Hearings
c. Motion Hearings
l .
n d. Traal
g e. Sentcncing Hearings
3 f. Revocation Hearings
§ g. Appeals Court
h. Other (Specify on additional sheets)
(Rate per hour = S ) TOTALS:
l6. a. lntervicws and Conl`erences .
0 . , ,
ill b. Ohtaining and reviewing records l
o t:. Legal research and brief writing
l'
C d. Travel time
g e. Investigati've and Otlier work (specify on addition-l sheen) `
r ___
t (Rate per hour v 5 ) TOTALS:
a lT. Tl'avel Expenscs (lodging, parking, mea|s, mileage, etc.)
lB. Other Expenses (other than expen, transcripts, ecc.)

 

 

20. APPO!NTMENT TERMINATION DATE 21. CASE DlSPO SITION

IF OTHER TllAN CASE COMF[..ET|ON

 

 

 

21 CLAIM STATUS n Pinll Plymesst g [nterim Plyment N\lmber ._.,_..___._.
Hlve you previously applied to the court hr compensation lndfor remimhurserneslt for this clse?

representetion‘.’ YES i:l NO

[|'yes, give details un additional sheets.

l swear or affirm the truth or correctness ofthc above statementsl

Other thln from the couldn have you, or toyour knowledge has anyone else. received payment (compensltion or lnythlng or val ue)

l:] Supp|emenlal?eyment
l:l YES l:l NO ll'yes,were you petd'.' J:] Y`ES ij NO

l'rom any other source in connection with this

 

         

23. lN COURT COMP. 24. OUT OF COURT COMP.

25. TRAVEL EXPENSES

 

  
 

;. »-.¢.‘.a ¢. ~_.

26. OTHER EXPENSES

2‘!. TOTAL AMT. AFPR l CERT

 

 

28. SICNATURE OF T`HE PRE.SlDING JUDICIAL OFFICER

DATE ZEa. JUDGE l MAG. JUDGE CODE

 

29. [N C()URT COMP. 30. OUT OF COURT COMl-". 31.

 

 

TRAVEL EXPENSES

31. OTHER EXFENSES 33. TOTAL AM'I`.A}‘PROVED

 

34. SIGNATURE OF CHlEF JUDGE, COURT ()lF APP EALS (OR DELEGATE) Pnyment

approved in excess ofthe statutory threshold nmoun .

 

DATE 34a. JUDGE C(]DE

 

 

 

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Noticc of Distribution

This notice confirms a copy of thc document docketed as number 32 in
case 2:03-CR-20451 Was distributed by faX, mail, or direct printing on
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Greg Gilluly

US ATTORNEY'S OFFICE
167 N. Main St.

Ste 800

Mcmphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

